
Affirmed by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit.
PER CURIAM:
Suresh C. Shreni appeals the district court’s order granting summary judgment to the Defendant on Shreni’s employment discrimination action filed pursuant to Title VII of the Civil Rights Act of 1964 and 42 U.S.C. § 1981 (2006), and a subsequent order denying his motion for reconsideration. We have reviewed the record and find no reversible error. Accordingly, we affirm for the reasons stated by the district court. Shreni v. Dep’t of Treasury, No. 8:07-cv-02209-AW (D.Md. Dec. 18, 2008; Apr. 13, 2009). We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

AFFIRMED.

